EXHIBIT W
                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA
                           ALEXANDRIA DIVISION


VIRGINIA COALITION FOR
IMMIGRANT RIGHTS; LEAGUE OF
WOMEN VOTERS OF VIRGINIA;
LEAGUE OF WOMEN VOTERS OF
VIRGINIA EDUCATION FUND;
AFRICAN COMMUNITIES
TOGETHER,

      Plaintiffs,                           Case No. 1:24-cv-01178
                                            Judge Patricia Tolliver Giles
             v.

SUSAN BEALS, in her official capacity
as Virginia Commissioner of Elections;
JOHN O’BANNON, in his official
capacity as Chairman of the State Board
of Elections; ROSALYN R. DANCE, in
her official capacity as Vice-Chairman of
the State Board of Elections; GEORGIA
ALVIS-LONG, in her official capacity
as Secretary of the State Board of
Elections; DONALD W. MERRICKS
and MATTHEW WEINSTEIN, in their
official capacities as members of the
State Board of Elections; and JASON
MIYARES, in his official capacity as
Virginia Attorney General,


             Defendants.


                DECLARATION OF JOAN PORTE
     IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION


                                        1
Pursuant to 28 U.S.C. § 1746, I, Joan Porte, declare as follows:

      1.     I am the President of the League of Women Voters of Virginia and the

League of Women Voters of Virginia Education Fund (collectively LWVVA or the

League). I have served in this role since July 1, 2023. I submit this declaration to

illustrate the League’s voter registration activities and explain how the League and

its members have been harmed by Governor Youngkin’s purging of eligible voters,

including his directives in Executive Order 35 (E.O. 35) to the Virginia Department

of Elections (“ELECT”) to purge voter rolls within the 90-day NVRA “quiet period”

based on faulty and limited information about voters’ citizenship.

      2.     Plaintiffs League of Women Voters of Virginia and League of Women

Voters of Virginia Education Fund, formed under Section 501(c)(4) and Section

501(c)(3) of the Internal Revenue Code, respectively, are nonpartisan, nonprofit,

grassroots organizations that seek to encourage informed and active participation in

the democratic process and government. Nonpartisanship is fundamental to

LWVVA and LWVVA does not support or oppose any candidate or political party.

      3.     LWVVA is a state League of the League of Women Voters, which was

founded in 1920 as an outgrowth of the struggle to win voting rights for women, has

more than 500,000 members and supporters, and is organized in more than 750

communities in all 50 states and the District of Columbia.



                                         2
      4.     LWVVA consists of fourteen affiliated local Leagues statewide and

one unit at large under the LWVVA. LWVVA has approximately 2,000 members

across the state of Virginia. Some of those members are naturalized citizens.

LWVVA’s Mission and Viewpoints

      5.     LWVVA’s mission is to empower Virginians to vote and defend the

democratic process in Virginia. Stemming from over a century of advocating for

civil rights and equal access to the ballot box in Virginia, LWVVA believes that

every Virginia voter should be able to effectively register to vote and cast their ballot.

LWVVA encourages the informed and active participation of all citizens in

Virginia’s government through participation in the democratic process.

      6.     LWVVA is comprised of dues-paying members who volunteer across

Virginia to provide voter services to Virginians. LWVVA does not have paid full-

time employees or staff involved in the operation of the League. Each local LWVVA

League has a voter services team that engages and educates voters of that

community.

      7.     Helping eligible citizens register to vote and voter assistance in all of

its forms are core components of the League’s work and are vital to expressing its

belief that all eligible voters should participate in Virginia’s democracy. LWVVA

believes it is especially important to encourage naturalized citizens to vote and

educate them about the American and Virginian democratic processes. To further


                                            3
that belief, LWVVA provides regular training to its local Leagues, their members,

their volunteers, voter services teams, and nonpartisan partners to assist voters in

getting registered and staying registered. The League also arranges and coordinates

required Virginia training for third party voter registration for members and

nonpartisan partner organizations. This year more than 300 people were trained.

      8.     The combined efforts of LWVVA, its members, volunteers, and service

teams further the League’s mission to empower Virginians to vote and to uphold and

defend the democratic process in Virginia. Voter registration, voter assistance, and

the League’s public communications express the League’s core values and are a

means to associate with its members and the larger community, often recruiting

members in the process.

LWVVA’s Voter Registration Activities

      9.     LWVVA and its local Leagues, through their voter services and public

services programs, host public events on civic education, including providing

information and assistance with the voter registration process and with confirming a

voter’s registration status.

      10.    LWVVA voter services programs span across the state and reach a

diversity of locations in order to reach potential Virginian voters. Such locations

include schools, nursing homes, community centers, and public events. LWVVA’s

members and volunteers bring tents, tables, printers, printed voter registration forms,


                                          4
computers for access to the Virginia Department of Elections voting portal and

vote411.org, absentee ballot and early voting information, pens, clipboards, papers,

and any other supplies needed to further assist and facilitate voters to engage in the

democratic process. In addition, members host a number of nonpartisan candidate

forums for local and state offices.

      11.    LWVVA and their local Leagues have conducted at least 40 voter

registration drives around the Commonwealth so far this year, including in many

local high schools. Members have spent approximately 300 hours collectively

volunteering for those events.

      12.    For the past three years, the LWV of the Fairfax Area, assisted by LWV

Arlington and Alexandria City, Falls Church and Loudoun County, has conducted

monthly voter registration drives at local naturalization programs for new citizens.

These members’ activities represent approximately 500 hours of the League’s

service time. Local Leagues in Williamsburg, Richmond and South Hampton Roads

have held similar drives at naturalization programs. At League voter registration

drives, naturalized citizens frequently ask questions about their eligibility to vote,

and League members answer those questions and emphasize why it is important for

these new American citizens to participate in the democratic process, just like

citizens born in the United States. At these events, LWVVA members help




                                          5
Virginians determine if they are eligible to register to vote and help them understand

the components of the voter registration form.

      13.    The League often provides “I registered to vote” stickers and

information cards that are branded with the LWV logo, and express LWVVA’s

message that voters have the right to vote and should participate in our democracy.

      14.    LWVVA’s members and volunteers go directly to Virginia high

schools and college campuses and host voter registration drives. To do this work,

LWVVA’s local Leagues provide voter education, including information about voter

registration and absentee voting.

      15.    The League also goes to food banks, homeless shelters, jails holding

people awaiting trial or not convicted of felonies, re-entry locations for those

recently released from incarceration, and section 8 housing units to conduct its

programs. Many local Leagues work closely with re-entry Councils that cities and

counties are required to have to assist returning citizens with the rights restoration

process, and upon restoration, voter registration.

      16.    Throughout LWVVA’s programming, many of the voters who are

submitting applications to register to vote or who have questions about the process

are naturalized citizens. Some of the young adults at the schools LWVVA conducts

voter registration drives are naturalized citizens.

      17.    Aside from holding registration events, the League helps its own


                                           6
members and other registered voters update their registrations, double-check that

they remain registered, and remain on the rolls or be reinstated.

      18.    LWVVA also helps voters by placing public service announcements

(PSAs) on radio and social media in English and Spanish to ensure everyone has a

voting plan and knows where to go if they have a problem.

      19.    In response to voting issues facing particular communities, such as the

Latinx community, League members conduct interviews with local newspapers,

radio stations, and digital media sources to address the questions about voter

registration and elections in Virginia.

      20.    LWVVA is a partner with the Virginia Election Protection coalition to

help voters, including naturalized citizens, get help if they have questions or

experience voting barriers or voter suppression. LWVVA members attend multiple

coalition meetings every week to discuss and coordinate with other non-profits on

how to effectively address voting related challenges facing Virginians.

      21.    For the past two years, the League has worked with the Virginia Library

Association to make videos to promote the right to read and vote. The partnership

encourages people to use Vote411.org to learn about their elections and voting

locations. These are promoted on all LWVVA social media outlets.

      22.    To further reach voters in Virginia, LWVVA manages a webpage

(vote411.org/Virginia) dedicated to providing essential information for Virginians


                                          7
to ensure all Virginians are informed about their candidates, ballot amendments, and

important voting information. The League also has a webpage entitled “How to be a

Virginia Voter,” which has information in several languages and an interactive page

for Virginians to find their drop boxes.

      23.    LWVVA has printed and distributed to local Leagues over 1,000

pounds of nonpartisan voting information for the November 2024 election to further

their work, including 15,000 stickers and 25,000 handouts. In addition, LWV

national distributed 250,000 postcards.

      24.    LWVVA also contracts with a technology company that creates digital

advertisements, including “banner impressions” for mobile device users. The

banners are projected to have, by the November election, approximately 700,000

impressions promoting voting and vote411.org.

      25.    LWVVA created several videos for students explaining how to vote if

in college, how to preregister if under 18, and how to vote by absentee ballot. These

videos are on platforms such as Youtube, TikTok, X, Facebook and Instagram.

LWVVA has created videos explaining the voting system, drop boxes, absentee

ballot processes etc., which are then distributed to social media.

The Purge Program’s Effect on LWVVA’s Activities and Mission

      26.    ELECT’s purging of alleged noncitizens (“Purge Program”) has

harmed the League’s activities and will continue to do so before the November


                                           8
election in several ways. The purge directly harms the League’s mission of

protecting the right to vote for Virginia voters, of ensuring every eligible Virginian

voter is able to effectively cast their ballot, and of encouraging the informed and

active participation of all citizens, including naturalized citizens, in Virginia

elections.

      27.    The purge has created harms in two waves. First, the purging of “non-

citizen” voters and the directives to continue to do so right before the election sowed

confusion and hindered the information LWVVA could provide to its members and

thousands of other Virginians about the voter rolls, the safeguards in place to prevent

the purging of their registration prior to an election, and the lawful administration of

elections. The purge has directly interfered with the League’s effort to increase voter

participation and turnout and will continue to do so.

      28.    Second, as notifications reached registered voters, particularly

Virginians who are naturalized citizens, or even voters that may have checked the

wrong box at the DMV, LWVVA was forced to expend additional resources towards

helping affected voters. LWVVA has shifted additional resources to ensuring that

all Virginians check their registration status, regardless of their circumstances,

knowing that the purge will affect many naturalized citizens, but also could affect

U.S.-born Virginians because of the faulty “list maintenance” put in place. Before

the purge, LWVVA focused their resources on encouraging certain voters with


                                           9
specific characteristics to check their registration.

      29.    Combined, LWVVA activities of delivering accurate information about

voter registration to the public, ability to tailor and communicate voter information

to the appropriate audiences, and work to ensure all eligible Virginians know they

can vote will be irreversibly damaged absent action from the court. ELECT’s

purging will continue to harm the League until the unlawful purging of voters is

stopped, previously purged voters are reinstated, and ELECT communicates to them

that they remain eligible and will not be investigated or criminally prosecuted simply

for registering to vote or voting.

      30.    The League has had to divert critical resources away from its core

activities during the most important period of time for the League’s voter registration

and information activities. The League has used its organizational resources to

understand the impact of the purge and E.O. 35, and their effect on Virginian voters.

Second, upon learning of the errors in the flawed purge, the League has been

expending its resources to counteract the confusion generated by claims of removals

of thousands of “non-citizens” and the ongoing targeting of registered voters,

including voters that receive 14-day notices. This includes all forms of

communications LWVVA engages in as previously described, including social

media, email, in person interactions and more.

      31.    Due to the confusion of the effects of the Purge Program on voter


                                           10
registration, LWVVA has and will continue to have to encourage a wider net of

voters to check their registration regardless of their particular circumstances,

including those that have previously voted and, since voting, had not had any life

changes that would prompt changes to their registration status. This is due to the

confusion created by the Purge Program and E.O. 35’s last minute directives to

continue purging an assortment of eligible Virginian voters. In response to E.O. 35,

a week later on August 14, 2024, the League spent $600 to create special fliers telling

people to check their voter registration even if they voted before. This flier was

translated into five languages: Arabic, Vietnamese, Amharic, Spanish, and Korean.

That communication was a necessary response to the purge to counteract the effects

on voting previously mentioned in this section.

      32.    LWVVA is distributing 6,440 postcards to registered voters purged

from the voter list prior to May 2024 at a cost of $3635.35. The postcards, mailed to

voters that the League and its partners identified as highly likely to have been purged

as noncitizens, includes the following language:

      All U.S. citizens, including naturalized citizens, have the right to vote in the

      November 5 election as long as you are eligible. If you (1) have received a

      notice asking to affirm your citizenship, or (2) have any problem voting in the

      upcoming election, contact the nonpartisan Election Protection Hotline at

      866-OUR-VOTE (English) or 888-VE-Y-VOTA (Spanish), 844-YALLA-US


                                          11
      (Arabic) and 888-API-VOTE (Asian).

      To vote in the Presidential election, you can go to an early voting location

      Monday through Friday until Nov 2. Early voting will also be available on

      Sat. Oct 26 and Sat. Nov 2. You may also vote on Nov. 5 at your regular

      polling site. To find your polling place and early voting locations, visit

      Vote411.org.

      33.    In my capacity as President of LWVVA and in response to a request

for a member of LWVVA to “address issues that Latinx voters face and provide

some voting advice for them,” I conducted an interview on a Spanish speaking radio

station based in Roanoke (WRKE 100.3 LP-FM). During the interview, I was aware

and concerned of the ongoing purge and its effects on naturalized citizens and I

specifically directed callers to the Election Protection hotline if they encountered

any trouble voting, including intimidation and voting registration difficulties.

      34.    LWVVA, as a member of the Virginia Election Protection coalition,

has expended significant organizational resources to discuss and coordinate with

other non-profits on how to effectively address the effects of the Purge Program and

E.O. 35 and to gather facts about how the directives affect voter registration in

Virginia. As non-profits with limited funds and resources, partnerships and

coalitions that provide voter assistance to local communities across the state are

essential to our operations and accomplishing our missions. Our members have


                                         12
attended and are still attending several hours of meetings each week to, in part,

address the harms of the purge. In addition, the coalition drafted, edited, and sent a

letter to Governor Youngkin and Commissioner Beals stating the coalition’s concern

with E.O. 35 and asking questions to clarify the effect of the order to facilitate our

work. Our questions were never answered by either recipient. Ultimately, if ELECT

had not instituted a voter purge, the League would have spent less time and fewer

resources needing to discuss and coordinate efforts with partners and would instead

have used its coordination resources on voter registration drives and other core

activities.

       35.    LWVVA has been forced to increase its budget for the cell phone and

iPad impressions to remind everyone to again check their registration due to the

uncertainty and confusion about the status of eligible voters caused by the Purge

Program and E.O. 35. LWVVA originally planned to spend $5,000 on that effort,

but increased the budget to $7,000 in order to include an extra screen shot that would

help combat the harmful effects of the purge.

       36.    Aside from spending money on public communications, the League lost

volunteer time internally by having to coordinate internal communications about the

purge with local League Presidents. LWVVA’s communication and social media

teams have also needed to create more social media material related to the subject

of registration and election protection than these teams otherwise would.


                                         13
      37.    In all of the League’s communications in the Commonwealth, the

League must now constantly remind people to check their registration and answer

subsequent questions about the potential problems created by the purge. These

communications are further complicated by the Purge Program, because the League

must talk about naturalized citizen disenfranchisement without frightening eligible

voters into not voting.

      38.    If the League did not have to spend its money, time, and effort on the

activities described above, it would help more individuals with the many additional

challenges that citizens face in accessing the ballot including by holding more voter

registration drives, spending more time encouraging all eligible voters to vote in the

2024 general election, coordinating with partners, and planning and conducting

advocacy activities.

      39.    Despite the League’s tremendous efforts to prevent the consequences

of the purge, it will not be enough. It is inevitable that some voters, including some

registered by the League, will not be able to vote, will not affirm their citizenship in

time, will choose to take their name off the registration list out of fear, or will choose

not to vote, because of the illegal purge. The downsides of registering to vote and

voting in an opaque and shifting voter registration system with known flaws and

misidentifications with the looming threat of criminal prosecution are simply too

burdensome for many of these citizens. The purge has and will continue to directly


                                           14
interfere with our efforts to register voters, keep eligible voters on the rolls,

accurately inform these voters about the process and effectively promote civic

engagement and voting across Virginia. The unlawful reduction in voters who are in

fact eligible to vote harms the League’s mission of increasing participation in our

elections, including from naturalized citizens.

      40.    Our members are being directly harmed by the purge as well. As

explained, the League’s members include Virginians who are naturalized U.S.

citizens who likely once received noncitizen identification numbers or identified

themselves as noncitizens at the DMV. Until Virginia’s Purge Program ends, those

members will need to re-check their voter registration status and are at risk of being

targeted and forced to submit an affirmation form, on a short 14-day notice, while

voting in the 2024 general election is currently underway. These members will also

have to resolve the targeting of their voter file in order to vote in future elections.



I declare under penalty of perjury that the foregoing is true and correct.

Executed on October 14, 2024 in Arlington, Virginia.



                                         ______________________________

                                                       Joan Porte




                                           15
